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1                                                      Judge Ricardo S. Martinez
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7                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
8                                       AT SEATTLE
9    UNITED STATES OF AMERICA,                  )
                                                )      CASE NO. CR06-106RSM
10                         Plaintiff,           )
                                                )
11                  v.                          )      ORDER OF CONTINUANCE
                                                )
12                                              )
     ROLANDO HERNANDEZ,                         )
13                                              )
                                                )
14                             Defendant.       )
                                                )
15

16            The Court having reviewed the motion by the defendant ROLANDO
17   HERNANDEZ to continue the trial date, and having reviewed the government’s response
18   and the records and files herein, makes the following findings and enters the following
19   order:
20            The Court finds that pursuant to 18 U.S.C. §3161(h)(8)(A) and §3161(h)(8)(B)(I),
21   (ii) and (iv), the ends of justice served by continuing the trial date from July 10, 2006 to
22   August 28, 2006, outweigh the best interests of the public and the defendant in a speedy
23   trial. This matter is complex due to the number of defendants involved, the number of
24   alleged bank fraud transactions involved, and the amount of discovery involved. It is
25   therefore unreasonable to expect the defendant to adequately prepare for trial before
26   August 28, 2006. Additionally, failure to grant a continuance to August 28, 2006 would
27   deny the defendant the time necessary for effective preparation, taking into account the
28   exercise of due diligence, and would result in a miscarriage of justice.
     Order to Continue Trial Date/
     HERNANDEZ/CR06-106RSM-1                                                       UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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1           Continuing the trial to August 28, 2006 also serves the interests of judicial

2    economy. Currently, co-defendant Felipe Maramba is scheduled for trial on August 28,

3    2006. Continuing HERNANDEZ’s trial to the same date would allow for a single trial

4    against both defendants, rather than two separate trials in which much of the testimony

5    presented would be the same.

6           IT IS HEREBY ORDERED that trial in this matter is continued from

7    July 10, 2006 to August 28, 2006 at 9:00 a.m.

8           IT IS FURTHER ORDERED that, for purposes of computing the time limitations

9    imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3164, the period of delay from

10   July 10, 2006, up to and including August 28, 2006, is excludable time pursuant to

11   18 U.S.C. § 3161(h)(7) and (h)(8)(B)(iv).

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13          DATED this 5th day of July, 2006.



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16                                                     RICARDO S. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
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18   Presented by:

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21   /s Jill Otake

22   JILL OTAKE

23   Assistant United States Attorney

24   WA Bar # 28298

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     Order to Continue Trial Date/
     HERNANDEZ/CR06-106RSM-2                                                      UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
